          Case 1:20-vv-00582-UNJ Document 36 Filed 05/13/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-582V
                                        UNPUBLISHED


    TERRY LEE COLVER,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: April 12, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.

Meghan Murphy, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On May 11, 2020, Terry Lee Colver filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that he suffered Guillain-Barre Syndrome following
the receipt of an influenza vaccine administered on September 13, 2017. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On April 9, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent has reviewed the records filed in this case and concluded that
Petitioner is entitled to compensation under the Vaccine Act. Id. at 6.


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
       Case 1:20-vv-00582-UNJ Document 36 Filed 05/13/21 Page 2 of 2




       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Brian H. Corcoran
                              Brian H. Corcoran
                              Chief Special Master




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